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                                                                                                  CIVIL DIVISION
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                                                                                                  CL-2023-0016939

                                                                                                     John T. Frey
V I R G I N I A:                                                                               CLERK, CIRCUIT COURT
                                                                                                    FAIRFAX, VA

               IN THE CIRCUIT COURT OF FAIRFAX COUNTY

JOSHUA WRIGHT,                                    )
                                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )           Case No.
                                                  )
THE RECTOR AND VISITORS OF                        )           JURY TRIAL DEMANDED
GEORGE MASON UNIVERSITY,                          )
4400 University Dr.,                              )
Fairfax, Virginia 22030,                          )
                                                  )
AND                                               )
                                                  )
THOMAS BLUESTEIN,                                 )
in his individual and official capacities,         )
4400 University Dr.,                              )
Fairfax, Virginia 22030,                          )
                                                  )
       Defendants.                                )
                                                  )

                                          COMPLAINT

       George Mason University would rather lose in court than lose in the press. In

its handling of false misconduct allegations against Mr. Wright, the University

repeatedly and flagrantly violated Title IX regulations and its own policies. In a clear

showing of bias, the University hosted Mr. Wright’s false accuser as a #metoo speaker

on campus, paid her and her co-conspirator hundreds of thousands of dollars each,1

made public statements in support of her and against Mr. Wright, retaliated against

him for his lawsuit, and used different standards when deciding whether to allow his


1 Despite having received nearly a half million dollar payout, the complainant and her co-conspirator

subsequently established a “Go Fund Me” to solicit an additional $2 million from the public.
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complaint to go forward against his accuser, resulting in the dismissal of his

complaint. In other words, the University repeatedly put its thumb on the scale in

favor of the female complainant instead of ensuring fairness, due process, and even

applying its own policies. Accordingly, Mr. Wright brings this complaint for violations

of Title IX, the Equal Protection Clause and Due Process Clause of the Fourteenth

Amendment to the United States Constitution, the Petition Clause of the First

Amendment to the United States Constitution, and for breach of contract.

                                   JURISDICTION

      1.        All tortious conduct occurred in Fairfax County, Virginia. Thus,

jurisdiction in this Court is proper.

                                    THE PARTIES

      2.        Plaintiff Joshua Wright is a Virginia resident of Fairfax County. Mr.

Wright was previously a law professor at George Mason University (the “University”).

      3.        Defendant The Rector and Visitors of George Mason University is a

public corporation operating as “George Mason University” pursuant to Va. Code

§23.1-1500. It will be referred to herein as “George Mason University” or the

“University.”

      4.        Defendant Thomas Bluestein is the Title IX Coordinator for the

University. Defendant Bluestein is chiefly responsible for the University’s compliance

with Title IX as well as the initiation and adjudication of all Title IX matters at the

University. He assumed this position in January of 2023.




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                              FACTUAL BACKGROUND

                                     Mr. Wright

      5.     Mr. Wright began his career as a law professor at the University in 2004.

      6.     While employed by the University, his employment was subject to the

policies of the University.

      7.     All University policies and regulations were incorporated by reference

into his employment contract.

      8.     Throughout his tenure as a professor, the University and others

repeatedly recognized the dedication he offered his students.

      9.     The University promoted Mr. Wright to Assistant Professor in 2005,

Associate Professor in 2010, Professor of Law in 2011, and finally to the top faculty

position of University Professor in 2016.

      10.    In 2014, the Federalist Society awarded Mr. Wright the Paul M. Bator

Award, a national award given annually to a law professor under the age of forty who

has “demonstrated excellence in legal scholarship, a commitment to teaching, a

concern for students, and who has made a significant public impact.”

      11.    Over the years, Mr. Wright intermittently left his position at the

University to enter public service at the Federal Trade Commission (“FTC”),

including as FTC Commissioner.

      12.    Additionally, Mr. Wright simultaneously taught at the University and

held positions in private law practices while also managing his own consulting

business.




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       13.     In December 2021, Mr. Wright was falsely accused of sexual misconduct

in a formal Title IX complaint by his former girlfriend with whom he was in an on-

and-off relationship for approximately eleven years.

                               The University’s Background

       14.     Institutions of higher education are required by law, as interpreted by

the United States Supreme Court, to adjudicate claims of sexual harassment under

the auspices of Title IX. 20 U.S.C. §1681. Title IX is a federal statute prohibiting

discrimination on the basis of sex in education.

       15.     Should the University fail to adequately remedy sexual harassment on

campus, it could be very costly for the University, including by having to face

litigation from alleged victims of sexual assault. This litigation is not only costly but

also tends to subject the University to extremely negative press. The plaintiffs suing

schools for failing to adequately remedy sexual harassment tend to be female.

       16.     In April 2011, pressure on the University increased when the Obama

Administration’s Department of Education published a “Dear Colleague Letter.”2

This guidance, despite not having undergone the formal rulemaking process,

demanded universities receiving federal funding to weaken procedural protections for

the accused, including limiting the right to a hearing for those accused of sexual

harassment and lowering the burden of proof to preponderance of the evidence.

Indeed, the Department threatened that “[w]hen a recipient does not come into




2 Office Of The Assistant Secretary, Dear Colleague Letter, U.S. DEPARTMENT OF EDUCATION
(April 4, 2011), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html.


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compliance voluntarily, OCR may initiate proceedings to withdraw Federal funding

by the Department or refer the case to the U.S. Department of Justice for litigation.”

      17.       The Dear Colleague Letter, and later-issued guidance, publicized

statistics of an alleged rape epidemic on college campuses targeting female students.

These statistics have been debunked.3

      18.       The Dear Colleague Letter incentivized universities receiving federal

funding, including Defendant University, to find male accused students and faculty

responsible regardless of the weight of the evidence against them, because if the

Department of Education saw the University as insufficiently protective of alleged

female sexual harassment victims, it could withdraw federal funding from the

University, as threatened in the Dear Colleague Letter.

      19.       Defendant University receives federal funding.

      20.       Defendant University recently signed two “Resolution Agreements” with

the Department of Education’s Office for Civil Rights, where the Department found

that the University had violated anti-discrimination laws, including Title IX.

      21.       The Department of Education has, since 2016, been investigating the

University for its failure to comply with Title IX as it relates to the University’s

response to sexual violence on campus.

      22.       Withdrawal of federal funding by the Department of Education would

be financially ruinous for the University.



3 Ashe Schow, No, 1 in 5 women have not been raped on college campuses, WASHINGTON
EXAMINER (Aug. 13, 2014, 10:31 AM), https://www.washingtonexaminer.com/no-1-in-5-women-
have-not-been-raped-on-college-campuses.


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       23.    Therefore, the University and its employees have an incentive to find

Mr. Wright responsible, as a male accused, regardless of the lack of weight of evidence

against him, to ensure it continues to receive federal funding and to avoid bad press.

       24.    Thus, once Mr. Wright was falsely accused, the University and its

employees had incentive to limit any chance Mr. Wright had at defending himself by

subjecting him to an inherently unfair process.

       25.    The Dear Colleague Letter was rescinded in 2017. The University,

however, retained all, or nearly all, of the staff positions the Dear Colleague Letter

and its subsequent iterations required. These staff positions include a formal Title IX

office and a Title IX Coordinator, both tasked with the enforcement of federal

guidance on campus.

       26.    The University’s continued compliance with the Dear Colleague Letter

and related guidance, even after it was rescinded, operationalized the anti-male bias

inherent in the Dear Colleague Letter and subsequent guidance, permitting that bias

to remain in full force at the University after the federal guidance was formally

rescinded. Further, the investigation that began in 2016 (before the Dear Colleague

Letter’s recission) is still ongoing.

       27.    Indeed, the author of the subsequent guidance enforcing the Dear

Colleague Letter, Assistant Secretary for Civil Rights of the Department of Education

Catherine Lhamon, resumed her position at the Department of Education as of

October 20, 2021, after a party-line confirmation vote in the United States Senate.

Therefore, the University was on notice that a proponent of the Dear Colleague




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Letter, who expressed open hostility to male accused students and faculty in her

confirmation hearings and past writings, was again in a position to withdraw federal

funding from the University if she felt that the University was inadequately

protective of female victims.

       28.    Similarly, around the time that the Dear Colleague Letter was

rescinded, the #metoo movement began. While the movement succeeded in removing

certain male bad actors from positions of power, it consequently casted too many men

as those bad actors. As a major social movement, it also had the effect of pressuring

institutions to comply with the movement’s goals: retribution against supposedly

powerful men for historical or societal wrongs. Large institutions did not want to be

on the receiving end of scathing press casting them as enablers of bad and powerful

men. Suffice it to say that after the Dear Colleague Letter was rescinded, something

equally as coercive took its place.

       29.    The University took no effective steps to ensure that its employees were

free of bias on the basis of sex.

                                The University’s Policies

       30.    Until approximately September 2023, the University did not prohibit

consensual romantic relationships between employees and students.

       31.    As of August 14, 2020, the University was obligated under 34 C.F.R.

§106 to establish a Title IX grievance process consistent with 34 C.F.R. §106.45,

which sets forth in substantial detail how the University may adjudicate formal




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complaints of sexual harassment, sexual assault, dating violence, domestic violence,

stalking, and retaliation.

      32.    Pursuant to this regulation, among other requirements, upon receipt of

a Title IX formal complaint, the University must assess the complaint to determine

whether it must dismiss the complaint under 34 C.F.R. §106.45(b)(3)(i), or whether it

may dismiss the complaint pursuant to 34 C.F.R. §106.45(b)(3)(ii).

      33.    The University must dismiss a formal complaint “[i]f the conduct alleged

in the formal complaint would not constitute sexual harassment as defined in §106.30

even if proved, did not occur in the recipient’s education program or activity, or did

not occur against a person in the United States…” 34 C.F.R. §106.45(b)(3)(i). “For the

purposes of this section… §106.45, ‘education program or activity’ includes locations,

events, or circumstances over which the recipient exercised substantial control over

both the respondent and the context in which the sexual harassment occurs, and also

includes any building owned or controlled by a student organization that is officially

recognized by a postsecondary institution.” 34 C.F.R. §106.44(a) (emphasis added).

      34.    Therefore, if a formal complaint alleges conduct in which the University

does not exercise “substantial control over both the respondent and the context in

which the sexual harassment occurs,” the University must dismiss the formal

complaint. The University’s Policy 1202 tracks this same mandatory dismissal

language, in compliance with §§106.44, 106.45.

      35.    The University may dismiss a formal complaint pursuant to 34 C.F.R.

§106.45(b)(3)(ii) when “if at any time during the investigation or hearing: A




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complainant notifies the Title IX Coordinator in writing that the complainant would

like to withdraw the formal complaint or any allegations therein; the respondent is

no longer enrolled or employed by the recipient; or specific circumstances prevent the

recipient from gathering evidence sufficient to reach a determination as to the formal

complaint or allegations therein.” 34 C.F.R. §106.45(b)(3)(ii).

      36.       The University is also obligated to presume any respondent to a Title IX

proceeding “not responsible” for the alleged violation until the end of the grievance

process. 34 C.F.R. §106.45(b)(1)(iv). The University’s Policy 1202 contains the same

presumption.

      37.       The University also prohibits retaliation under 34 C.F.R. §106.71;

however, “[t]he exercise of rights protected under the First Amendment does not

constitute retaliation…” 34 C.F.R. §106.71(b)(1).

      38.       At all times, by regulation or by the plain language of the statute, the

University was obligated to treat its students and faculty equitably and without

discriminating on the basis of sex. 20 U.S.C. §1681; 34 C.F.R. §106.44.

                     Elyse Dorsey’s Harassment Toward Mr. Wright

      39.       While teaching at the University, Mr. Wright met Elyse Dorsey.

      40.       In the summer of 2010, Mr. Wright and Ms. Dorsey began a romantic

relationship.

      41.       Mr. Wright and Ms. Dorsey’s relationship continued for eleven years, on

an on-and-off basis.




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      42.      Throughout their eleven-year relationship, they went on vacations

together and shared many mutual interests.

      43.      Also, throughout their relationship, they collaborated on many different

projects as they were both involved in the antitrust legal community.

      44.      They were both respected members of professional associations,

including the Federalist Society and the American Bar Association.

      45.      They published academic papers together (at least six over the course of

four years).

      46.      They also collaborated on different research projects.

      47.      Mr. Wright supported Ms. Dorsey’s career and she supported his.

      48.      Indeed, in 2021, Mr. Wright helped to create and obtain a fellowship

with the University of Virginia (“UVA”) for Ms. Dorsey, including undertaking

significant effort to persuade companies to fund the fellowship.

      49.      Mr. Wright also engaged her to perform some work as an independent

contractor for his consulting firm after she asked for help, needing to make extra

money while waiting for her fellowship at UVA to begin.

      50.      Eventually, in late October 2021, Mr. Wright ended the on-and-off

relationship with Ms. Dorsey. During the breakup, which occurred in writing, Mr.

Wright told Ms. Dorsey that the reason he was breaking up with her was to pursue

another romantic relationship.

      51.      Immediately after Mr. Wright ended the relationship with Ms. Dorsey,

she became hostile and vindictive.




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          52.        When he broke up with her, she responded in a text message, “WHAT

THE ACTUAL FUCK” and “you know I deserve more than a fucking text right now.”

          53.        She proceeded to send a series of angry text messages, including:

                a. “you *promised* me multiple times you would be here. But you’re doing

                     the opposite – you’re abandoning me, in the worst possible way… that’s

                     straight fucked up.”

                b. “I’m so embarrassed for thinking you ever respected me, let alone love

                     me.”

                c. “you’re being so mean to me and IDK why.”

                d. “Idk what I’ve done so wrong in my life to end up in this total dumpster

                     fire right now… or why I’m so expendable to you. That you seem to keep

                     going out of your way to hurt me.”

                e.   “I need you, at a minimum, to call me, bc [sic] right now, I could not

                     possibly think less of you… you say you’re all about loyalty – show it.

                     Right now, for once.”

                f. She concluded with disparaging Mr. Wright’s current relationship: “I

                     mean, I get you not wanting to see me. But you’re going back to [current

                     girlfriend] – after how horribly she’s treated you, your family, everyone

                     you *say* you care about… Jesus Christ.”

          54.        After Ms. Dorsey sent the above text messages, she came uninvited to

the law school and waited outside one of Mr. Wright’s classes and followed him to his

office.




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        55.     Once in his office, she loudly yelled at him regarding the end of their

relationship and demanded to have a conversation with him.

        56.     After Mr. Wright refused to have further conversation with her, Ms.

Dorsey repeatedly tried to contact Mr. Wright’s girlfriend with several calls and text

messages, which were unwelcome by Mr. Wright’s girlfriend.

        57.     Ms. Dorsey also repeatedly contacted Mr. Wright’s assistant in an

attempt to reach Mr. Wright or to disparage him.

        58.     Ultimately, this persistent and aggressive conduct made Mr. Wright

fearful for his safety and his children’s safety, as Ms. Dorsey had proven herself to be

extremely erratic and unpredictable.

        59.     Ms. Dorsey’s conduct, however, persisted.

              Ms. Dorsey Filed a False Title IX Complaint Against Mr. Wright

        60.     Despite their long history of a consensual, romantic relationship, Ms.

Dorsey decided to file a false Title IX complaint against Mr. Wright on December 12,

2021.

        61.     Presumably, in retaliation for the breakup, Ms. Dorsey embarked on a

plan to ruin Mr. Wright’s reputation and his life.

        62.     Ms. Dorsey alleged to Title IX, among other things, that she had been

sexually assaulted by Mr. Wright at the beginning of their eleven-year romantic

relationship, and, remarkably, that the entire eleven-year relationship had been a

product of coercion.




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         63.   Ms. Dorsey also alleged falsely that after she ended the relationship

with Mr. Wright, he took adverse actions against her, including: (1) removing Dorsey

as an adjunct faculty member for the Antitrust II course in the online LLM program

for the spring 2022 semester; and (2) frustrating/delaying Wright’s receipt of stipend

funds associated with a visiting scholar position at the University of Virginia.

         64.   When Ms. Dorsey made all of these statements, she knew they were

false.

         65.   Among other things, despite Ms. Dorsey’s assertions, text message

evidence shows unequivocally that Mr. Wright ended the relationship.

         66.   Beyond these inconsistencies, Ms. Dorsey’s Title IX Complaint included

a plethora of additional lies, proven false by contradictory evidence. For example, Ms.

Dorsey alleged during the Title IX investigation that Mr. Wright had or has a

relationship with a current student. That student denied ever having a relationship

with Mr. Wright.

         67.   On July 8, 2022, Ms. Dorsey amended her complaint to include a

retaliation charge, alleging that after she filed the complaint, Mr. Wright somehow

restricted her ability to teach an Antitrust class at the University.

         68.   Contrary to this allegation, the Dean of the Law School, Ken Randall,

provided in the Title IX investigation that while Mr. Wright’s opinion was at all

relevant times highly valued in hiring decisions, and he may recommend faculty, he

does not have the authority to hire or fire faculty and did not make the hiring decision

in question.




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       69.   Further, Mr. Wright ended their relationship on October 21, 2021, but

the position was already filled on October 13, 2021, eight days prior to their

relationship ending. This timeline makes Ms. Dorsey’s retaliation claim false and

frivilous.

       70.   Ms. Dorsey also falsely alleged that Mr. Wright prevented her from

securing the UVA fellowship funding. Notably, the University did not determine that

it lacked jurisdiction over this allegation, despite it alleging conduct that occurred

outside of its “education program or activity.”

       71.   Indeed, UVA is not within the “substantial control” of the University.

       72.   Even after her Title IX complaint against him, Mr. Wright assisted in

making sure Ms. Dorsey was paid for this fellowship.

       73.   Indeed, Ms. Dorsey was paid for her UVA fellowship.

       74.   No part of Mr. Wright’s and Ms. Dorsey’s relationship was “unwelcome”

– a necessary element of any sexual harassment allegation. Ms. Dorsey herself proved

that the relationship was not “unwelcome” by her vigorous protestations after Mr.

Wright broke up with her. Obviously, if the relationship was “unwelcome” or at all

coercive, Ms. Dorsey would have been elated to be free of the relationship. But she

was not – she was heartbroken. That is because she loved Mr. Wright and her

relationship with him, enthusiastically consenting to be with him.

       75.   All of Ms. Dorsey’s allegations to Title IX are false, and she made the

allegations knowing them to be false.




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      76.       Further, all of Ms. Dorsey’s allegations are predicated and contingent

on her allegation that she ended the relationship – something that is proved false by

her own text messages.

            The University’s Response to Ms. Dorsey’s False Complaint

      77.       The University notified Mr. Wright, on January 28, 2022, that it was

opening a formal Title IX investigation pursuant to 34 C.F.R. §106.45 because Ms.

Dorsey had filed a formal complaint.

      78.       On that same day, the University’s Title IX Office issued a “No Contact

Order” prohibiting Mr. Wright and Ms. Dorsey from having direct or indirect contact

with each other.

      79.       In response to the formal complaint, the University embarked on a wide-

ranging investigation to determine whether, among other things, Ms. Dorsey was the

victim of sexual harassment eleven years ago, at the start of the romantic

relationship.

      80.       The investigation also sought to determine whether Mr. Wright

interfered with Ms. Dorsey’s professional opportunities (including at UVA).

      81.       Although required to do so, the University did not dismiss Ms. Dorsey’s

allegation regarding the UVA fellowship, pursuant to 34 C.F.R. §106.45(b)(3)(i) and

its own Policy 1202, even though UVA is not within the University’s “substantial

control.”




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         82.   While the Title IX complaint was filed in December 2021, and the

University notified Mr. Wright about it in January 2022, the University’s appointed

investigator did not interview Mr. Wright until mid-May 2022.

         83.   This was Mr. Wright’s first opportunity to share the truth of the matter.

         84.   All of Ms. Dorsey’s allegations to Title IX are false, and she made the

allegations knowing them to be false.

         85.   Further, all of her allegations are predicated and contingent on her

allegation that she ended the relationship – something that is proved false by her

own text messages.

         86.   This investigation into Mr. Wright remains ongoing, nearly two years

later.

                      Mr. Wright’s Complaint Against Ms. Dorsey

         87.   In the time it took for Mr. Wright to receive an interview, Ms. Dorsey

had been busy. She had recruited Angela Landry to her cause, and the two of them

embarked on a campaign to contact Mr. Wright’s clients and tell them, falsely, that

he sexually harassed them and other students.

         88.   In response to her retaliation against him, on June 6, 2022, Mr. Wright

submitted his own Title IX formal complaint to the University.

         89.   Mr. Wright’s complaint alleged that Ms. Dorsey had (1) retaliated

against him; (2) sexually harassed him by contacting his clients and telling them

falsely that he sexually harassed or assaulted her, and by her coming to Mr. Wright’s

office uninvited and berating him about their romantic relationship, and by calling




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his girlfriend repeatedly; and that Ms. Dorsey had (3) violated the No Contact Order

by contacting Mr. Wright’s clients to harass and defame him, among other things.

      90.    The University dismissed Mr. Wright’s formal complaint in full without

any investigation.

      91.    In its dismissal notice, the University cited its permissive dismissal

policy that allows for dismissal where “the Respondent is not enrolled or employed”

at the University.

      92.    This language tracks the permissive dismissal section of the Title IX

regulations at 34 C.F.R. §106.45(b)(3)(ii). The University, however, went further than

the regulation or its Policy and stated in its notice that because Ms. Dorsey was not

“enrolled or employed,” the University “has no jurisdiction to pursue the [formal]

Complaint.” (emphasis added).

      93.    The University chose to dismiss Mr. Wright’s formal complaint,

therefore, on the sole ground that Ms. Dorsey was not “enrolled or employed.” But

Ms. Dorsey did, in fact, have some sort of employment relationship with the

University – she had an arrangement to monitor an online LLM class at the

University when that course was offered. A close reading of the dismissal notice

suggests that the University knew that Ms. Dorsey was, in fact, employed in some

manner, because the University noted that Ms. Dorsey was not an “active employee.”

(emphasis added).




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      94.    Neither the Title IX regulations nor the University Policy use the term

“active employee.” This term was created by the University for a one-time use – to

dismiss Mr. Wright’s formal complaint.

              The Defamation Campaign Metastasizes into Extortion

      95.    Because the University refused to investigate his claim of retaliation,

Ms. Dorsey’s harassment campaign continued and worsened.

      96.    In a transparent attempt at extortion, and perhaps bolstered by the

University’s deliberate indifference to Mr. Wright’s complaint, Ms. Dorsey and Ms.

Landry eventually demanded a multi-million dollar payout from Mr. Wright and from

the University.

      97.    This demand was sent to Mr. Wright and to the University.

      98.    Ms. Dorsey and Ms. Landry’s seventeen-page “demand letter” contained

a string-list of laws on the seventeenth page without any legal analysis.

      99.    The “claims” it purported to settle were facially meritless. For example,

it purported to settle a Title IX claim against Mr. Wright based on conduct allegedly

occurring eleven years ago, whereas Virginia’s two-year statute of limitations would

apply. It also purported to settle a Title VII claim against Mr. Wright even though he

is not an “employer” under the meaning of the statute because he does not employ

fifteen or more employees, among other things. See 42 U.S.C. §2000e.

      100.   Instead of any legal analysis, the so-called demand letter spent sixteen

and a half pages calling Mr. Wright a predator or other names, purporting to be

quotes from unnamed other women. The purpose of including these “quotes” from




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unnamed individuals was to threaten Mr. Wright and the University with

reputational destruction.

      101.   Despite an ongoing Title IX investigation by the University into Ms.

Dorsey’s complaint against Mr. Wright for which he is supposed to be presumed not

responsible, the University paid Ms. Dorsey to settle her alleged claims against it.

      102.   When the University agreed to pay Ms. Dorsey, there had not been, and

indeed still has not been, any finding by the University’s Title IX Office that Mr.

Wright was “responsible” for Ms. Dorsey’s Title IX claims.

      103.   Because it had been made clear to Mr. Wright through the University’s

actions that he was not going to receive any fair process at the University, Mr. Wright

was forced to resign from his employment at the University.

      104.   Although he submitted his resignation letter on June 26, 2023, his

resignation was not effective until August 8, 2023.

             The University Doubles Down in its Support of Ms. Dorsey

      105.   The same day that Mr. Wright’s resignation took effect, Ms. Dorsey, the

female complainant, went to the media to begin spreading their lies publicly.

      106.   Over the next several weeks, Mr. Wright was subjected to near constant

press inquiries and media articles labeling him a perpetrator of sexual harassment,

because of the women’s statements, including Ms. Dorsey’s re-alleging of what she

alleged in her formal complaint to the University’s Title IX office. Ms. Dorsey also

complained about the University’s delay in adjudicating her complaint.




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      107.   In   response   to   Ms.    Dorsey’s     public        statements,   University

administrators made their own statements capitulating to Ms. Dorsey and

condemning Mr. Wright – in a clear showing of bias against Mr. Wright.

      108.   For instance, on or about August 21, 2023, the Dean of the Law School,

Dean Randall, sent an email to the entire student body addressing the allegations

against Mr. Wright.

      109.   In the email, Dean Randall, on behalf of the University, disclosed

private employment records by stating he had put in place the restrictions on Mr.

Wright’s contact with students, which plainly implies that the University had

considered Mr. Wright responsible for the allegations the entire time, even when it

was required to presume him not responsible.

      110.   The University acknowledged that this information was confidential,

through its August 22, 2023 comments to Law360 from its Vice President for Media

and Communications in which the University official is quoted, stating “The details

of these types of measures in this instance are confidential because they relate to

employment.”

      111.   Despite   the   confidentiality,   it   chose     to    disclose   the   records,

demonstrating that the University would rather violate Mr. Wright’s rights than risk

bad press casting the University as unsupportive to the #metoo movement.

      112.   In fact, before sending this email, Dean Randall called Mr. Wright and

preemptively apologized for having to make a public statement against him. Dean




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Randall told Mr. Wright that his “hands were tied” and that the Law School needed

to make a statement because “they were getting killed by the press.”

      113.   Dean Randall also referenced misconduct allegations against Mr.

Wright in an email to all alumni of the Law School on or about August 30, 2023, again

kowtowing to the #metoo movement in a desperate attempt to avoid bad press.

      114.   Dean Randall told all of the alumni of the Law School that, among other

things, the Law School is “deeply concerned” by the allegations and is conducting a

review of its Title IX process to ensure “a safe and welcoming environment for

everyone.” The clear message of the statement to any reader was that Mr. Wright did

in fact commit conduct that was “deeply concerning.”

      115.   The University President also chimed in. He published at least one

statement on or about August 28, 2023, that the University was reforming its policies

and increasing Title IX training in response to allegations against Mr. Wright.

      116.   In response to the media pressure, the University did, in fact, change its

policies related to consensual relationships between students and employees. It

banned those relationships outright, where it had not banned them before. This,

among other things, demonstrated that the University was responsive to public

pressure of the #metoo movement.

      117.   Although the University’s statements suggest that it was only made

recently aware of the allegations, it knew about them by the end of 2021, when Ms.

Dorsey submitted her Title IX complaint. The University did not make any attempt

to change its policies until after it was subjected to public pressure. Only then did it




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(1) falsely suggest that it was only recently made aware of the allegations, and (2)

rapidly enact new policy.

      118.   At the time each of the University administrators’ statements were

made, of course, the University was still investigating the allegations and was

required to presume Mr. Wright “not responsible.”

      119.   Quite obviously, the University and its administration had given up on

even the appearance of fairness and would instead do anything to please the women

and those in the public sympathetic to them. The University decided that its own self-

interest required discriminating against the male – Mr. Wright.

      120.   In response to the now very public defamation, Mr. Wright sued Ms.

Dorsey and Ms. Landry in this Court on August 24, 2023. This case is still pending.

      121.   Approximately one week after Mr. Wright filed his lawsuit, on August

31, 2023, the University held an official event on campus titled “#MeToo at GMU”

featuring the female complainant as a main speaker, to talk about her accusations

against Mr. Wright. See Exhibit A.

      122.   If there was any doubt remaining that the University would do anything

to comply with the #metoo movement and its inherent bias against men, this event

dispels that doubt.

      123.   Accordingly, at the time the University was supposed to presume Mr.

Wright “not responsible,” it gave his female accusers an official platform to spread

their false allegations against Mr. Wright and publicly demonstrating the

University’s support of the female complaint.




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      124.     The University did not stop its public support there. Shockingly, on

September 14, 2023, the University released a public statement thanking the female

complainant by name.

      125.     The University stated, among other things, “Mason can share that these

brave women courageously came forward to bring allegations of sexual misconduct

to the university’s attention. Mason is proud to count Ms. Dorsey and Ms. Landry

as alumni.”4

      126.     The press release concluded by stating that “Mason condemns any

attempt to silence or intimidate individuals from making good faith complaints of

misconduct through the University’s processes.”

      127.     This statement is a thinly veiled condemnation of Mr. Wright’s lawsuit.

      128.     In other words, as it did with its public statements condemning Mr.

Wright while there was a pending Title IX complaint by Ms. Dorsey at the University,

the University publicly praised her for coming forward, essentially accepting her facts

as true before any hearing, and while it was required to presume Mr. Wright “not

responsible,” thereby, again, publicly placing its finger on the scale in favor of the

female complainant.

      129.     After Mr. Wright protested to the University regarding its actions in

publicly condemning him and praising the female complainant, the University, in a

serpentine manner, assured him that he was still presumed not responsible despite



4Strengthening systems to prevent and respond to employee misconduct, GEORGE MASON
UNIVERSITY (Sept 14, 2023), https://www.gmu.edu/news/2023-09/strengthening-systems-
prevent-and-respond-employee-misconduct.


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these public statements in support of the “bravery” and “courage” of his accusers and

the condemnation of his lawsuit, which the University also declared it would

investigate as retaliation, as discussed in more detail below.

      130.   By publicly supporting the female complainant, the University placed

its proverbial thumb on the scale in favor of the female at the expense of the male in

its ongoing Title IX process.

      131.   As a result of these statements, any University hearing officer would not

feel free to make his or her own determination and would be pressured by his or her

employer to find Mr. Wright responsible.

The University Retaliates against Mr. Wright to Appease the Female Complainant

      132.   In response to Mr. Wright’s lawsuit, Ms. Dorsey filed an amended Title

IX complaint, alleging that Mr. Wright’s lawsuit constituted retaliation under Title

IX and the University’s Policy.

      133.   In stark contrast to its dismissal of Mr. Wright’s formal complaint, the

University, through Defendant Bluestein, accepted Ms. Dorsey’s amended complaint

and issued a new notice to Mr. Wright on September 7, 2023. The University charged

Mr. Wright with retaliation because he filed his lawsuit.

      134.   By sending the September 7, 2023 notice to Mr. Wright, the University

revealed that it had determined that Ms. Dorsey’s amended complaint alleged

conduct occurring within its “education program or activity.” In other words, the

University had found that it exercised “substantial control” over both Mr. Wright

(who had resigned several months prior and was effective approximately a month




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prior) and this Court, where the filing of the lawsuit took place. In short, the amended

notice told Mr. Wright that the University was preparing to punish him for the

exercise of his right to access the Court.

      135.   The amended notice also showed that while the University would

dismiss Mr. Wright’s complaint because Ms. Dorsey was not “enrolled or employed,”

a different rule would apply to Mr. Wright. Even though Mr. Wright was not “enrolled

or employed” at the time of filing Ms. Dorsey’s amended complaint, the University

would refuse to dismiss the amended complaint.

      136.   In response to the amended notice seeking to punish Mr. Wright for

filing a lawsuit, Mr. Wright sent a letter to the University, through counsel, raising

his concerns that investigating him for filing a lawsuit would (1) unconstitutionally

chill his First Amendment right to petition his government for a redress of grievances;

(2) violate the Title IX regulations by expanding the “education program or activity”

of the University to include a court of law, something that is patently absurd; and (3)

demonstrates bias against Mr. Wright on the basis of sex because the University

would permit a complaint to proceed against a male non-employee but not a female

non-employee (assuming, of course, that Ms. Dorsey was in fact not an employee at

the time of Mr. Wright’s filing of a formal complaint, a fact that the University’s use

of the term “active employee” makes dubious).

      137.   In response to this letter, the University stated that it would use a

higher standard for the female complainant’s retaliation claim rather than




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dismissing as required under the Title IX regulations because this Court is not within

the University’s “substantial control.”

      138.   When pressed about the First Amendment concerns, the University

offered that Mr. Wright could seek court relief.

      139.   Unsurprisingly, the University refused to dismiss the amended

complaint and stated that it would proceed against Mr. Wright regardless of his

concerns.

      140.   Later, Defendant Bluestein placed the University’s position in writing.

In an email to Mr. Wright on October 4, 2023, Defendant Bluestein stated that the

Hearing Officer, who may or may not be an attorney according to the University’s

Policy, will analyze federal case law as argued by the parties to determine whether a

First Amendment privilege applies at the University hearing.

      141.   The University’s Policy, however, states that the Hearing Officer’s role

is merely to “make a determination of responsibility (responsible or not responsible)

for the alleged violations of Policy 1202 stated in the Formal Complaint.” The Policy

does not permit the University Hearing Officer to usurp the role of a judge, and it

does not empower the Hearing Officer to make any decisions of law – the Hearing

Officer’s only role is to apply University Policy.

      142.   Defendant Bluestein further stated in the email that Mr. Wright may be

subject to punishment if the Hearing Officer determines that his lawsuit does not

have a “reasonable” basis in fact and law, which is not the First Amendment test.




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      143.   In other words, the University bent over backwards, including bucking

its own policy, the Title IX Regulations, and the First Amendment, to let the female

complainant’s claim for retaliation based upon Mr. Wright’s lawsuit against her

proceed despite it requiring its hearing officer, who may not even be an attorney,

make First Amendment determinations.

      144.   The University’s position is asinine on its face and showcases bias.

Typically, students appear pro se in these proceedings, and the Hearing Officer is not

guaranteed to be an attorney. Its position would require any non-lawyer staff or

faculty member to analyze caselaw and render a legal decision (perhaps committing

the unauthorized practice of law). Accordingly, it would presumably require an

eighteen-year-old freshman to present legal arguments themselves, if it applied this

policy University-wide.

      145.   The University, through Defendant Bluestein, also reiterated in this

email that the University would not dismiss its amended complaint against Mr.

Wright.

      146.   As of October 4, 2023, the University’s appointed investigator began

investigating Mr. Wright as to the amended complaint – i.e., whether his civil suit for

defamation was a Title IX retaliation violation at the University.

      147.   Given that the University made public statements praising his female

accusers and condemning him, paid his false accusers $475,000, and dismissed his

complaints while allowing Ms. Dorsey’s to proceed, Mr. Wright will not receive a fair

hearing.




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      148.   The University will find him responsible regardless of the weight of the

evidence, consistent with its self-interest to avoid bad press or an investigation from

the Department of Education.

      149.   Further, any reasonable person would be deterred from filing a lawsuit

by a government agency threatening retaliation. While Mr. Wright did not dismiss

his lawsuit in response to the University’s prosecution against him, other reasonable

employees or former employees might be deterred from exercising their First

Amendment right to petition.

      150.    When the University finds against Mr. Wright, consistent with its

predetermined outcome, it will do enormous damage to his career and ability to

secure employment. While his prospects have narrowed considerably after his false

accusers’ defamation, a formal determination by a government agency that he

committed sexual misconduct will extinguish what hope he has left to make a living.

                               CAUSES OF ACTION

                                  COUNT I
                   TITLE IX – DELIBERATE INDIFFERENCE
                        (Against Defendant University)

      151.   Mr. Wright incorporates the above paragraphs by reference.

      152.   Title IX prohibits all discrimination on the basis of sex in education.

      153.   This prohibition includes discrimination that takes the form of

deliberate indifference to sexual harassment.

      154.   Deliberate indifference sexual harassment includes four elements: (1)

that the educational institution receives federal funds; (2) that the plaintiff was




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subjected to harassment based on [his] sex; (3) that the harassment was sufficiently

severe or pervasive to create a hostile (or abusive) environment in an educational

program or activity; and (4) that there is a basis for imputing liability to the

institution.

      155.     The University receives federal funds.

      156.     By slandering Mr. Wright as a perpetrator of sexual harassment, Ms.

Dorsey subjected Mr. Wright to harassment on the basis of his sex.

      157.     The harassment has been sufficiently severe and pervasive because the

harassment was widespread at the University and in the general public.

      158.     There is a basis to impute liability to the University because the

University had actual knowledge of the harassment and acted clearly unreasonably

in light of the known circumstances by dismissing his complaint without any

investigation.

      159.     The University failed to act in a manner reasonably calculated to end

the harassment, as required by law. It took no action whatsoever to protect Mr.

Wright. Instead, it made public statements in support of his harassers and publicly

condemned his attempt to seek relief from the Court.

      160.     As a direct result of the University’s deliberate indifference to the

harassment he endured, Mr. Wright suffered and continues to suffer damages.




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                                  COUNT II
                    TITLE IX – SELECTIVE ENFORCEMENT
                        (Against Defendant University)

      161.   Mr. Wright incorporates the above paragraphs by reference.

      162.   Title IX prohibits universities that receive federal funding from treating

similarly situated persons differently on the basis of sex.

      163.   Universities may be held liable for violating Title IX under a selective

enforcement theory where the severity of the sanctions or the decision to initiate

charges was caused by the person’s sex.

      164.   Selective enforcement claims generally require a showing of a similarly

situated person of the opposite sex being treated more favorably by the University.

      165.   Mr. Wright and Ms. Dorsey were similarly situated because they both

filed Title IX formal complaints alleging retaliation and sexual harassment. Only Ms.

Dorsey’s complaint was accepted and opened for investigation.

      166.   Whereas the University indicated to Mr. Wright that it had no

“jurisdiction” to pursue his formal complaint because Ms. Dorsey was not “enrolled or

employed,” it pursued Ms. Dorsey’s formal complaint against Mr. Wright even though

he was not “enrolled or employed.”

      167.   This disparate treatment was caused by Mr. Wright’s sex.

      168.   Therefore, the University selectively enforced its Title IX policy and is

liable under Title IX.

      169.   As a direct result of the University’s selective enforcement, Mr. Wright

suffered and continues to suffer damages.




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                                     COUNT III
                             TITLE IX – Sheppard Claim
                           (Against Defendant University)

       170.   Mr. Wright incorporates the above paragraphs by reference.

       171.   Title IX prohibits all discrimination on the basis of sex in educational

institutions that receive federal funding.

       172.   The University receives federal funding.

       173.   The Fourth Circuit interprets Title IX to bar discipline in educational

institutions subject to Title IX where the plaintiff’s sex is a but-for cause of the

discipline.

       174.   Not only is Mr. Wright imminently going to be disciplined by the

University, but the University has also already made public statements in support of

his female accusers and against him, despite purporting to presume him not

responsible for the allegations against him. These statements have a similar effect to

publicly and officially disciplining him.

       175.   The University’s treatment of Mr. Wright is caused by Mr. Wright’s male

sex. This is evidenced by (1) its use of inconsistent reasoning to explain its refusal to

investigate his formal complaint while accepting the female’s formal complaints; (2)

its use of the term “active employee” to reject Mr. Wright’s complaint, where that

phrase appears nowhere in Title IX or the University’s Policy; (3) its public

statements condemning him and in support of his female accusers, in the middle of

the Title IX process; (4) its instruction that its Hearing Officer would apply First

Amendment caselaw and make a legal ruling, where its Hearing Officers are not




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empowered to do so under University Policy; and (5) its willful violation of the Title

IX regulations, among other things. On the whole, the University has shown it will

do anything to side with the female and against the male, even if it means mutilating

its Policy and Title IX beyond recognition, going so far as to claim “substantial

control” over this Court.

      176.   The University’s disparate treatment of Mr. Wright is set against the

backdrop of federal pressure from the Department of Education and by pressure in

the media about the Title IX case. The University therefore feels immense pressure

to side with the female and has succumbed to that pressure.

      177.   As a result of the University’s violation of Title IX, Mr. Wright continues

to suffer damages.

                              COUNT IV
VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE FOURTEENTH
       AMENDMENT TO THE UNITED STATES CONSTITUTION
                          Via 42 U.S.C. §1983
         (Against Defendant Bluestein in his individual capacity)

      178.   Mr. Wright incorporates the above paragraphs by reference.

      179.   The University is a public entity and an agency of the government of

Virginia.

      180.   During the relevant time period, Defendant Bluestein exercised the final

authority of the University’s Title IX Office.

      181.   The University, evidently, has a practice of investigating complaints by

females and ignoring complaints by males.




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       182.    The University investigated Ms. Dorsey’s complaint against Mr. Wright

but did not investigate Mr. Wright’s complaint against Ms. Dorsey, evidencing a bias

towards females and against males.

       183.    Mr. Wright was treated differently from Ms. Dorsey by the University

throughout the relevant time period because, among other things, his complaint was

not investigated and the harassment he reported was not remedied, whereas Ms.

Dorsey’s amended complaint was accepted and opened for investigation.

       184.    This disparate treatment was caused by discrimination on the basis of

sex.

       185.    Such differential treatment on the basis of sex cannot be justified by

intermediate scrutiny because, among other things, there is not a legitimate

governmental objective served by ignoring male faculty’s complaints of harassment

and retaliation while accepting the female’s complaints of harassment and

retaliation.

       186.    Mr. Wright requests compensatory and incidental damages, including

emotional damages, from Defendant Bluestein, who was knowingly responsible for

this disparate treatment.

                              COUNT V
VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE FOURTEENTH
       AMENDMENT TO THE UNITED STATES CONSTITUTION
                         Via 42 U.S.C. §1983
          (Against Defendant Bluestein in his official capacity)

       187.    Mr. Wright incorporates the above paragraphs by reference.




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       188.    The University is a public entity and an agency of the government of

Virginia.

       189.    During the relevant time period, Defendant Bluestein exercised the final

authority of the University’s Title IX Office.

       190.    The University, evidently, has a practice of investigating complaints by

females and ignoring complaints by males.

       191.    The University investigated Ms. Dorsey’s complaint against Mr. Wright

but did not investigate Mr. Wright’s complaint against Ms. Dorsey, evidencing a bias

towards females and against males.

       192.    Mr. Wright was treated differently from Ms. Dorsey by the University

throughout the relevant time period because, among other things, his complaint was

not investigated and the harassment he reported was not remedied, whereas Ms.

Dorsey’s amended complaint was accepted and opened for investigation.

       193.    This disparate treatment was caused by discrimination on the basis of

sex.

       194.    Such differential treatment on the basis of sex cannot be justified by

intermediate scrutiny because, among other things, there is not a legitimate

governmental objective served by ignoring male faculty’s complaints of harassment

and retaliation while accepting the female’s complaints of harassment and

retaliation.

       195.    Mr. Wright requests injunctive relief in the form of an order directing

Defendant Bluestein to dismiss Ms. Dorsey’s amended complaint.




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                              COUNT VI
 VIOLATION OF THE PETITION CLAUSE OF THE FIRST AMENDMENT TO
                THE UNITED STATES CONSTITUTION
                          Via 42 U.S.C. §1983
         (Against Defendant Bluestein in his individual capacity)

       196.    Mr. Wright incorporates the above paragraphs by reference.

       197.    During the relevant time period, Defendant Bluestein exercised the final

authority of the University’s Title IX Office.

       198.    The First Amendment to the United States Constitution protects a

citizen’s right “to petition the government for a redress of grievances.” U.S. Const.

Amend. I. In other words, it protects the citizenry’s right to access the court system,

among other things.

       199.    Under the First Amendment, the government may not punish a citizen

for filing a lawsuit, unless the lawsuit is utterly baseless or filed with knowledge of

its falsity.

       200.    The government, through Defendant Bluestein, threatened Mr. Wright

with punishment because he filed a lawsuit against Ms. Dorsey and Ms. Landry, two

other private citizens.

       201.    The government cannot show that Mr. Wright’s lawsuit is utterly

baseless or filed with knowledge of its falsity; and in any event, the government

applies the wrong test. It told Mr. Wright that it would punish him if his lawsuit

lacked a “reasonable” basis in fact and law, which is a higher bar than the First

Amendment permits, and the word “reasonable” permits the government Hearing




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Officer to apply his or her own subjective view of whether they agree with Mr.

Wright’s lawsuit.

      202.   Mr. Wright’s lawsuit is only at the pleading stage, and therefore, even if

the University were to apply the “reasonable” basis standard, it is unclear how it

could possibly determine whether the lawsuit lacked a “reasonable” basis in fact and

law before this Court could render any decision on the merits and without such a

decision from the Court. And yet, that is what the University plans to do.

      203.   While Mr. Wright’s lawsuit does indeed have a reasonable basis in fact

and law (he attached exhibits to his complaint in this Court), the fact that the

University is attempting to apply a “reasonable” standard shows its contempt for the

First Amendment.

      204.   Finally, because even unsuccessful but reasonably based suits advance

some First Amendment interests, even if Mr. Wright’s lawsuit were ultimately

dismissed or unsuccessful, that alone would not show utter baselessness such that

government retaliation would be appropriate.

      205.   The government’s charging of Mr. Wright with retaliation because he

petitioned the court produces an unconstitutional “chilling effect” on protected First

Amendment activity even absent any finding of responsibility, because the charge of

retaliation is an official threat of enforcement made specifically against Mr. Wright.

      206.   Mr. Wright requests compensatory and incidental damages, including

emotional damages, from Defendant Bluestein, who was knowingly responsible for

the violation of Mr. Wright’s right to petition.




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                             COUNT VII
 VIOLATION OF THE PETITION CLAUSE OF THE FIRST AMENDMENT TO
               THE UNITED STATES CONSTITUTION
                         Via 42 U.S.C. §1983
          (Against Defendant Bluestein in his official capacity)

       207.    Mr. Wright incorporates the above paragraphs by reference.

       208.    During the relevant time period, Defendant Bluestein exercised the final

authority of the University’s Title IX Office.

       209.    The First Amendment to the United States Constitution protects a

citizen’s right “to petition the government for a redress of grievances.” U.S. Const.

Amend. I. In other words, it protects the citizenry’s right to access the court system,

among other things.

       210.    Under the First Amendment, the government may not punish a citizen

for filing a lawsuit, unless the lawsuit is utterly baseless or filed with knowledge of

its falsity.

       211.    The government, through Defendant Bluestein, threatened Mr. Wright

with punishment because he filed a lawsuit against Ms. Dorsey and Ms. Landry, two

other private citizens.

       212.    The government cannot show that Mr. Wright’s lawsuit is utterly

baseless or filed with knowledge of its falsity; and in any event, the government

applies the wrong test. It told Mr. Wright that it would punish him if his lawsuit

lacked a “reasonable” basis in fact and law, which is a higher bar than the First

Amendment permits, and the word “reasonable” permits the government Hearing




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Officer to apply his or her own subjective view of whether they agree with Mr.

Wright’s lawsuit.

      213.   Mr. Wright’s lawsuit is only at the pleading stage in his lawsuit, and

therefore, even if the University were to apply the “reasonable” standard, it is unclear

how it could possibly determine whether the lawsuit lacked a “reasonable” basis in

fact and law before this Court could render any decision on the merits and without

such a decision from the Court. And yet, that is what the University plans to do.

      214.   While Mr. Wright’s lawsuit does indeed have a reasonable basis in fact

and law (he attached exhibits to his complaint in this Court), the fact that the

University is attempting to apply a “reasonable” standard shows its contempt for the

First Amendment.

      215.   Finally, because even unsuccessful but reasonably based suits advance

some First Amendment interests, even if Mr. Wright’s lawsuit were ultimately

dismissed or unsuccessful, that alone would not show utter baselessness such that

government retaliation would be appropriate.

      216.   The government’s charging of Mr. Wright with retaliation because he

petitioned the court produces an unconstitutional “chilling effect” on protected First

Amendment activity even absent any finding of responsibility, because the charge of

retaliation is an official threat of enforcement made specifically against Mr. Wright.

      217.   Mr. Wright requests injunctive relief in the form of an order directing

Defendant Bluestein to dismiss Ms. Dorsey’s amended complaint.




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                               COUNT VIII
    VIOLATION OF THE DUE PROCESS CLAUSE OF THE FOURTEENTH
        AMENDMENT TO THE UNITED STATES CONSTITUTION
                           (Via 42 U.S.C. §1983)
            (Against Defendant Bluestein in his official capacity)

      218.   Mr. Wright incorporates the above paragraphs by reference.

      219.   The Fourteenth Amendment to the United States Constitution protects

a citizen’s procedural due process rights; the government may not deprive a citizen of

his interest in his life, liberty, or property, without due process of law.

      220.   Due process of law requires that the accused be provided notice of any

charges and an opportunity to be heard.

      221.   Mr. Wright has a liberty interest in his professional reputation and his

ability to pursue his occupation of choice.

      222.   The government harmed Mr. Wright’s professional reputation and his

ability to pursue his occupation of choice by making public statements in support of

his female accusers and in condemnation of him.

      223.   When the government made these statements, Mr. Wright was not yet

given an opportunity to be heard. He had not been provided the opportunity for any

hearing and had not even been interviewed on the new retaliation charge.

      224.   The government made these statements in connection with an official

act that altered Mr. Wright’s legal status – it charged him with retaliation.

      225.   Mr. Wright was therefore deprived of his right to due process, and

requests injunctive relief in the form of an order directing the recission of the

government’s statements against him.




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                                    COUNT IX
                            BREACH OF CONTRACT
                          (Against Defendant University)

      226.   Mr. Wright incorporates the above paragraphs by reference.

      227.   Mr. Wright had an employment contract with the University.

      228.   That employment contract incorporated by reference the University

policies and procedures, including those that relate to Title IX.

      229.   The University breached its own Policy (and thus, the contract) by,

among other things, (1) prosecuting a retaliation complaint against Mr. Wright for

filing a lawsuit where this Court is very clearly not within the University’s

“substantial control,” a finding that is required to pursue a Title IX matter at the

University under its Policy; (2) the University’s use of the term “active employee” to

reject Mr. Wright’s complaint, where that phrase appears nowhere in the Policy; (3)

its public statements condemning him and in support of his female accusers, in the

middle of the Title IX process, where the University is required by the Policy to

presume Mr. Wright not responsible; and (4) its instruction that its Hearing Officer

would apply First Amendment caselaw and make a legal ruling, where its Hearing

Officers are not empowered to do so under University Policy, among other things.

      230.   As a result of the University’s breach, Mr. Wright continues to suffer

damages.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Joshua Wright, by counsel, demands judgment

against Defendants, George Mason University and Thomas Bluestein, as follows:




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     a. An award of compensatory, special, and punitive damages, in an amount to

        be determined at trial;

     b. Injunctive relief as delineated above;

     c. An award of Plaintiff’s costs associated with this action, including but not

        limited to his reasonable attorneys’ fees and expenses, under the common

        law and 42 U.S.C. §1988; and

     d. Such other and further relief that this Court deems just, equitable, and

        proper.

                                  JURY DEMAND

     Plaintiff Joshua Wright demands a trial by jury on all issues triable.



Dated: November 30, 2023                  JOSHUA WRIGHT
                                          By Counsel

                                          Respectfully submitted,



                                          Benjamin F. North, VSB No. 97439
                                          Lindsay R. McKasson, VSB No. 96074
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                                          Attorneys for Plaintiff




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                                                                                                 EXHIBIT A




                                                                         Elyse Dorsey, Angela
                                                                        Landry' and Professor
                                                                     Brandy wagstaff discuss
                                                                               a path forward.
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                Case 1:24-cv-00002 Document 1-2 Filed 01/02/24 Page 43 of 43 PageID# 49

                                                  FAIRFAX CIRCUIT COURT
                                                  CIVIL CASE COVERSHEET
      Parties:
                              Plaintiffs                                                            Defendants

 1. JOSHUA WRIGHT
                                                                               THE RECTOR AND VISITORS OF GEORGE MASON UNIVERSITY
                                                                          1.

 2.                                                                       2. THOMAS BLUESTEIN

 3.                                                                       3.

      *Plaintiff proceeding without Counsel – Address and Daytime Phone Number required on Complaint

      Plaintiff Attorney:

 Name: BENJAMIN F. NORTH                                              Bar ID: 97439

 Firm: BINNALL LAW GROUP

 Street: 717 KING STREET, SUITE 200

 City: ALEXANDRIA                             State: VA               Zip: 22314

 Phone Number: (703) 888-1943                                         Fax Number: (703) 888-1930

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Nature of Complaint (Check only one)                       * Cases in the Civil Tracking Program
 Administrative Appeal                                    Defamation *                          Malpractice – Medical *
 Affirmation of Marriage                                  Delinquent Taxes *                      echanics/Vendors Lien *
                                                                                                    M
 Aid & Guidance                                           Eminent Domain                        Partition *
 Appeal Decision of Board of Zoning                       Encumber/Sell Real Estate                ersonal Injury – Assault *
                                                                                                     P
 Appeal of Process/Judicial Appeal                          rroneous Assessments
                                                            E                                        Personal Injury – Auto *
 Appointment Church/Organization                           E xpungement                         Personal Injury – Emotional *
 Trustees
 Arbitration                                               alse Arrest/Imprisonment*
                                                           F                                      Personal Injury – Premises
                                                                                                   Liability*
 Attachment                                               Fiduciary/Estate Complaint             Property Damage*
 Complaint – Equity *                                     Garnishment–Federal–180 days            Products Liability*
 Complaint – Legal Cause of Action *                      Garnishment–Wage–180 days             Quiet Title *
 Compromise Settlement                                     Garnishment–Other – 90 days             Real Estate *
 Condemnation*                                              G       uardian/Conservator Adult       Restoration of Driving Privilege
 Confession of Judgment                                     Guardianship/Minor                       Vital Record Correction
 Construction *                                              Injunction                               Writ Habeas Corpus
 Contract *                                                   Interpleader                             Writ Mandamus
 Conversion*                                                   Insurance *                              Wrongful Death*
 Court Satisfaction of Judgment                                 Judicial Review                          Wrongful Discharge *
 Declare Death                                                   Malicious Prosecution *        OTHER:
 Declaratory Judgment *                                           Malpractice – Legal *


                             1,000,000
 Damages in the amount of $ ___________________ are claimed.


 Requested Service: Sheriff  Private Process Server   DMV S    ecretary of Commonwealth
     State Corporation Commission Publication No Service at this time


      CCR D-90 Civil Coversheet (Revised – October 2011)
